Case 4:21-cv-00872-MWB Document 1 Filed 05/12/21 Page 1 of 14

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

ERROL A. HENDERSON
State College, PA 16803
Plaintiff,
CIVIL ACTION NO.
v.
PENNSYLVANIA STATE UNIVERSITY :
328 Boucke Building :
University Park, PA 16803 : JURY TRIAL DEMANDED
Defendant.
COMPLAINT

I, PRELIMINARY STATEMENT

Dr. Errol A. Henderson is the first, and until Fall 2019, the only African American
tenured professor in the history of the Political Science department at Pennsylvania State
University (“Penn State” or “Defendant”). A champion of civil rights and advocate for anti-
racism, Dr. Henderson has openly described the institutional racism at Penn State, particularly
within the Political Science department, which has resulted in an embarrassing lack of diversity
within the department faculty and its students. In January 2019, Dr. Henderson published an Op-
Ed in The Daily Collegian, the student newspaper at Penn State, entitled: “Being Black at Penn
State.” In this article, Dr. Henderson traced the contours of the systemic racism at Penn State
and his own battles with toxic race discrimination within the Political Science department.
Within weeks of publication, Dr. Henderson learned that several of his white colleagues had
raised complaints that he had created a racially hostile work environment for them, and that he

was being investigated by Penn State for alleged racial harassment. Penn State ultimately
Case 4:21-cv-00872-MWB Document 1 Filed 05/12/21 Page 2 of 14

concluded its investigation and formally disciplined Dr. Henderson — and no one else — for
allegedly creating a hostile environment. Penn State further denied Dr. Henderson’s efforts to be
promoted to Full Professor within the Political Science department, removed him from the
classroom in his entirety, stripped him of his department committee memberships, and forbade
him from even attending departmental meetings.

Dr. Henderson was subjected to a hostile work environment, retaliated against, and
discriminated against because of his race in violation of the Civil Rights Act of 1866, as
amended, 42 U.S.C. §1981 (“Section 1981”) and the Pennsylvania Human Relations Act, 43 P.S.
§ 951, et seg. (‘PHRA”).! Dr. Henderson seeks damages, including economic, compensatory,
and punitive damages, and all other relief under applicable federal and state law as this Court
deems appropriate.

Il. PARTIES

1. Plaintiff is an African American individual and citizen of the Commonwealth of
Pennsylvania.

2. Defendant is a research university with campuses and facilities throughout
Pennsylvania.

3. Defendant is engaged in an industry affecting interstate commerce and, at all
relevant times, has regularly conducted business in the Commonwealth of Pennsylvania.

4. At all times material hereto, Defendant has acted as an “employer” within the
meaning of the statutes which form the basis of this matter.

5. At all times material hereto, Defendant employed more than fifteen (15)

individuals.

 

1 Dr. Henderson intends to file an Amended Complaint to include a claim under Title VII of the
Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e, et seq. (“Title VII’), upon his receipt
of a right-to-sue notice from the Department of Justice.

2
Case 4:21-cv-00872-MWB Document1 Filed 05/12/21 Page 3 of 14

6. At all times material hereto, Plaintiff was an “employee” of Defendant within the
meaning of the statutes which form the basis of this matter.

7. At all times material hereto, Defendant acted by and through its authorized agents,
servants, workmen and/or employees within the course and scope of their employment with
Defendant and in furtherance of Defendant’s business.

Il. JURISDICTION

8. The causes of action which form the basis of this matter arise under Section 1981
and the PHRA.

9. The District Court has jurisdiction over Count I (Section 1981) pursuant to 28
U.S.C. §1331.

10. The District Court has supplemental jurisdiction over Count II (PHRA) pursuant
to 28 U.S.C. §1367.

11. Venue is proper in the District Court under 28 U.S.C. §1391(b).

12. On or about November 8, 2019, Plaintiff filed a Complaint with the Pennsylvania
Human Relations Commission (“PHRC”), which was cross-filed with the Equal Employment
Opportunity Commission (“EEOC”), complaining of the acts of discrimination and retaliation
alleged herein. Attached hereto, incorporated herein, and marked as Exhibit 1 is a true and
correct copy of the PHRC Complaint.

13. On or about May 19, 2020, Plaintiff filed an Amended Complaint with the PHRC,
which was cross-filed with the EEOC. Attached hereto, incorporated herein, and marked as
Exhibit 2 is a true and correct copy of the Amended PHRC Complaint.

14. —_ Plaintiff has complied with all administrative prerequisites for the commencement

of this action.
Case 4:21-cv-00872-MWB Document 1 Filed 05/12/21 Page 4 of 14

IV. FACTUAL ALLEGATIONS

15. Dr. Henderson is an African American man who was born in Detroit in 1962.

16. He obtained his PhD in Political Science from University of Michigan in 1993.

17. In 2002, Dr. Henderson joined Penn State as a tenured faculty member and
Associate Professor in the Political Science and Africana Studies departments.

18. A former member of the U.S. Army and U.S. Army Reserve, Dr. Henderson’s
teaching and research focus on World Politics, the Analysis of War, and Africana/Black Studies,
among other subjects.

19. Ina typical academic year at Penn State, Dr. Henderson would teach four (4)
courses and approximately 140-300 undergraduate students. Approximately every two (2)
academic years, he would also typically teach one (1) graduate course and approximately 10-12
graduate students.

20. In 2014, Dr. Henderson was given the Faculty Recognition Award from the
Multicultural Resource Center at Penn State.

21. In his broader academic service, Dr. Henderson has served on the editorial boards
of several publications and is a frequent keynote speaker at events and community programs.

22. Moreover, over the course of his employment with Penn State, Dr. Henderson has
been a prolific publisher of scholarly works, including journal articles, chapters, and books —
including an award-winning book in 2015.

23. | Dr. Henderson has also been awarded fellowships and grants while at Penn State,
including a nearly $2,000,000 grant funded by the John Templeton Foundation.

24. Notwithstanding the success he achieved both in and out of the classroom, Dr.

Henderson was vocal about a series of comments and actions that he witnessed being committed
Case 4:21-cv-00872-MWB Document1 Filed 05/12/21 Page 5 of 14

by senior faculty members and administrators that reflected systemic and institutional biases.

25. As early as 2010, Dr. Henderson formally complained about the racially hostile
work environment and Penn State’s poor engagement with individuals, such as himself, who
raise concerns about diversity, inclusion, and discrimination.

26. For example, Dr. Henderson articulated his criticism over Penn State’s failures to
successfully recruit Black students and faculty members, which contributed to the unhealthy
climate of the Political Science department and served to alienate individuals like himself, who
sought to challenge the system that perpetuated these shortcomings.

27. Dr. Henderson raised concerns about personal interactions he had with the former
Head of the Political Science Department (a white female), who arbitrarily commented to him
about Black rapists and stated to him during a formal annual evaluation that she had been stalked
by Black men while she taught at another university. When Dr. Henderson asked her why she
was telling him this, as it was unrelated to any topic of their conversation, the former Head
stated, “Well, you never know where people are coming from,” or words to that effect.

28. In or around 2014, Dr. Henderson began reporting to Lee Ann Banaszak (white),
Head of the Political Science Department at Penn State.

29. Dr. Banaszak reported to Susan Welch (white), former Dean of College of Liberal
Arts.

30. Dr. Henderson complained to Dr. Banaszak about the unprofessional and biased
behavior of several of his white colleagues.

31. | For example, Dr. Henderson raised complaints to Dr. Banaszak and other high-
level officials at Penn State that he witnessed a white faculty member using the word “bitch”

during a tenure committee meeting while discussing a potential candidate.
Case 4:21-cv-00872-MWB Document 1 Filed 05/12/21 Page 6 of 14

32. By way of further example, Dr. Henderson complained in 2015 that the Provost
made an offensive and stereotypical remark regarding an individual’s ethnicity during an address
to many faculty members.

33. | While Dr. Henderson’s complaints allegedly were investigated by Penn State, no
action was taken to address the inappropriate actions and comments.

34. Instead, Dr. Banaszak accused Dr. Henderson of “harassing” her by continually
raising his complaints about actions taken by his white colleagues to the detriment of racial
minorities and women.

35. | Dr. Henderson escalated his complaints and concerns to President Eric J. Barron
(white). In meeting and corresponding with President Barron, Dr. Henderson described the
racially hostile climate within the Political Science department of Penn State, which included
long-standing discriminatory treatment by Dr. Welch and Donna Bahry, former Head of the
Political Science Department.

36. | Again, Dr. Henderson’s complaints were ignored or dismissed by Penn State.

37. In 2015, Dr. Henderson published a book entitled, African Realism? International
Relations Theory and Africa’s Wars in the Postcolonial Era.

38. After receiving an award and positive reviews for his publication, Dr. Henderson
sought Dr. Banaszak’s guidance in formally applying for a promotion to Full Professor.

39. The position of Full Professor is a leadership role at Penn State which is also a
stepping-stone to further promotions, more compensation, and added control over committee and
departmental assignments.

40. Dr. Banaszak informed Dr. Henderson that his application would only move

forward upon her recommendation or that of Dr. Welch. She further stated that she would not be
Case 4:21-cv-00872-MWB Document 1 Filed 05/12/21 Page 7 of 14

recommending Dr. Henderson for the promotion, allegedly due to purported deficiencies in Dr.
Henderson’s classroom skills and performance.

41. In or around December 2017, Dr. Henderson formally complained to Suzanne
Adair (Black), Associate Vice President of Affirmative Action, about Dr. Banaszak’s refusal to
consider him for the position of Full Professor, among other discriminatory actions taken by
Penn State’s Political Science department against him.

42. In or around October 2018, Dr. Adair informed Dr. Henderson that she concluded
her investigation and that his claim of race discrimination had been unsubstantiated.

43. Thereafter, Dr. Banaszak took further action to retaliate against Dr. Henderson,
including refusing to provide subvention funds for either of his two (2) latest books and
continuing to deny him the ability to be promoted to Full Professor.

44. In January 2019, Dr. Henderson published an Op-Ed in The Daily Collegian,
Penn State’s student newspaper, entitled, “Being Black at Penn State.”

45. In this article, Dr. Henderson recounted various discriminatory experiences he had
endured in his nearly twenty-years at Penn State, and he called on Penn State to reckon with its
institutional racism that had resulted in a dearth of Black faculty members and students.

46. | Dr. Henderson further implored Penn State to take these issues of racial bias
seriously, recommended additional oversight and intervention by the administration and the
Provost, and suggested changes to combat racism on campus by amplifying the voices of those
members of the community who have been subjected to the racially hostile environment.

47. A few weeks after his Op-Ed was published, Dr. Henderson learned from Dr.
Adair that certain white colleagues had complained that he had created a racially hostile work

environment for them.
Case 4:21-cv-00872-MWB Document 1 Filed 05/12/21 Page 8 of 14

48. Although she did not disclose the names of the individuals who had allegedly
complained, Dr. Adair did share that they had accused Dr. Henderson of harassment, stemming
from his efforts to combat racism within the Political Science department and Penn State at large.

49. On or around May 16, 2019, Dr. Adair provided to Dr. Henderson a formal letter
of discipline, charging him with violating University Policy AD91 (“Discrimination and
Harassment and Related Inappropriate Conduct’).

50. Dr. Adair’s investigation concluded that Dr. Henderson did “repeatedly refer to,
and/or name, specific members of the department during faculty meetings and other forums
when [he is] raising issues regarding perceived racist actions or practices,” and such conduct rose
to the level of harassment and the creation of a hostile work environment.

51. Thereafter, on May 23, 2019, Dr. Welch provided Dr. Henderson with a letter
stating that his “behavior in the Political Science department and [his] public denunciations of
colleagues have created a hostile work environment impeding the department from carrying out
its normal business.”

52. Dr. Welch further explained that Dr. Henderson immediately would be banned
from all departmental meetings and events, and he would not be permitted to serve on any
departmental committees, for over two (2) years (through June 30, 2021).

53. Dr. Welch additionally mandated that Dr. Henderson would be prohibited from
teaching any classes during the 2019-2020 school year, and during that time he would be
required to take remedial teaching courses to improve his classroom performance.

54. Dr. Welch concluded her May 23, 2019 letter by stating that Dr. Henderson’s
failure to be abide by her edicts would result in further disciplinary action, including possible

initiation of dismissal proceedings.
Case 4:21-cv-00872-MWB Document 1 Filed 05/12/21 Page 9 of 14

55. | Dr. Henderson has complied with Penn State’s requirements and continues to hold
the position of Associate Professor in the Political Science department.
56. His attempts to be promoted to Full Professor continue to be denied.
57. On June 10, 2020, in the wake of the murder of George Floyd, President Barron
wrote to the Penn State community:
Dear Members of the Penn State Community:

Over the past two weeks I have heard from hundreds of students,
faculty, alumni and community members about their concerns
involving hate in the Penn State community. People are justifiably
upset about the events in our nation, and the limitations
surrounding our institutional response. We must acknowledge the
pain, anger and frustration that such events inflict on our
community. We must recognize that Black Lives Matter, and that
racism, bias and religious intolerance yield an inexcusable cost to
life and liberty.

We have an obligation to fight ignorance and intolerance, model
inclusivity and embrace the power that diversity represents. Yet
we operate in a national environment where there is growing
polarity on these issues, greater conflict and an amplification of
hate speech. The path forward will be challenging. We must work
together to address both immediate issues and the solutions to
long-standing problems, and to be candid and direct about what
public universities can accomplish, while still setting the bar high
as a national leader in higher education.

I write to you today to say that we are committed to making
changes at Penn State that address these issues. . . .

58. President Barron’s letter to the community in June 2020 largely echoes the
concerns, criticisms, and calls for action that Dr. Henderson has been advocating for years at
Penn State.

59. Moreover, President Barron announced various initiatives to combat racism at
Penn State — including convening a task force, mandating bias training for all employees, and

increasing the hiring and retention of minority faculty members — which mirror efforts that Dr.
Case 4:21-cv-00872-MWB Document1 Filed 05/12/21 Page 10 of 14

Henderson had been suggesting for many years.

60. On February 22, 2021, President Barron announced additional plans to “develop
recommendations for improving the climate for diversity, equity and inclusion at Penn State.”
Such plans include remedying the significant historical failures by Penn State in addressing
issues of racism and bias on campus — the very same issues that Dr. Henderson had been raising
to no avail.

61. Instead of supporting Dr. Henderson’s prescient views that are now being
championed by the institution, Penn State disciplined him, convicted him of creating a racially
hostile work environment, and effectively placed him on the bench for two (2) years and stifled
his ability to move into a leadership position at Penn State.

62. Dr. Henderson’s race was a motivating and/or determinative factor in Penn State’s
discriminatory treatment of Dr. Henderson, including subjecting him to a hostile work
environment, failing to promote him, and removing him from his duties as a member of the
Political Science department.

63. | Dr. Henderson’s complaining of discrimination and a hostile work environment
was a motivating and/or determinative factor in Penn State’s discriminatory and retaliatory
treatment of him, including subjecting him to a hostile work environment, failing to promote
him, and removing him from his duties as a member of the Political Science department.

64. The retaliatory actions taken against Dr. Henderson after he complained of
discriminatory conduct would have discouraged a reasonable employee from complaining of
discrimination.

65. Penn State failed to prevent or address the harassing, discriminatory, and

retaliatory conduct referred to herein and further failed to take corrective and remedial measures

10
Case 4:21-cv-00872-MWB Document1 Filed 05/12/21 Page 11 of 14

to make the workplace free of harassing, discriminatory, and retaliatory conduct.

66. The conduct of Penn State, as set forth above, was severe or pervasive enough to
make a reasonable person believe that the conditions of employment are altered and the working
environment is hostile or abusive.

67. As a direct and proximate result of the discriminatory and retaliatory conduct of
Penn State, Dr. Henderson has in the past incurred, and in the future may incur, a loss of earnings
and/or earning capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of
self-esteem, mental anguish, and loss of life’s pleasures, the full extent of which is not known at
this time.

68. The conduct of Penn State, as set forth above, was outrageous under the
circumstances and warrants the imposition of punitive damages against Defendant.

69. Dr. Henderson is now suffering and will continue to suffer irreparable injury and
monetary damages as a result of Defendant’s discriminatory and retaliatory acts unless and until
this Court grants the relief requested herein.

COUNT I - SECTION 1981

70. Plaintiff incorporates herein by reference paragraphs 1 through 69 above, as if set
forth herein in their entirety.

71. By committing the foregoing acts discrimination, hostile work environment, and
retaliation against Plaintiff on the basis of Plaintiff's race and his complaints of discriminatory
conduct, Defendant has violated Section 1981.

72. Said violations were intentional and willful and warrant the imposition of punitive

damages.

11
Case 4:21-cv-00872-MWB Document1 Filed 05/12/21 Page 12 of 14

73. As a direct and proximate result of Defendant’s violation of Section 1981,
Plaintiff has suffered the damages and losses set forth herein.

74. ‘Plaintiff is now suffering and will continue to suffer irreparable injury and
monetary damages as a result of Defendant’s discriminatory acts unless and until this Court
grants the relief requested herein.

75. No previous application has been made for the relief requested herein.

COUNT I —- PHRA

76. Plaintiff incorporates herein by reference paragraphs 1 through 75 above, as if set
forth herein in their entirety.

77. Plaintiffs race and/or his complaining of discrimination was a substantial,
motivating, and/or determinative factor in connection with Defendant’s treatment of Plaintiff.

78. By committing the foregoing acts of discrimination, hostile work environment,
and retaliation against Plaintiff, Defendant has violated the PHRA.

79. Asa direct and proximate result of Defendant’s violation of the PHRA, Plaintiff
has sustained the injuries, damages and losses set forth herein and has incurred attorneys’ fees
and costs.

80. Plaintiff is now suffering and will continue to suffer irreparable injury and
monetary damages as a result of Defendant’s discriminatory and retaliatory acts unless and until
the Court grants the relief requested herein.

81. | No previous application has been made for the relief requested herein.

12
Case 4:21-cv-00872-MWB Document1 Filed 05/12/21 Page 13 of 14

RELIEF
WHEREFORE, Plaintiff Errol A. Henderson respectfully requests that this Court enter
judgment in his favor and against Defendant Penn State. Plaintiff seeks damages and legal and
equitable relief in connection with Defendant’s improper conduct, and specifically prays that the
Court grant the following relief to Plaintiff by:

(a) Declaring the acts and practices complained of herein to be in violation of Section 1981;

(b) Declaring the acts and practices complained of herein to be in violation of the PHRA;

(c) Enjoining and permanently restraining the violations alleged herein;

(d) Entering judgment against Defendant and in favor of the Plaintiff in an amount to be
determined;

(e) Awarding compensatory damages to make the Plaintiff whole for all lost earnings,
earning capacity and benefits, past and future, which Plaintiff has suffered or may suffer as a
result of Defendant’s improper conduct;

(f) Awarding compensatory damages to Plaintiff for past and future pain and suffering,
emotional upset, mental anguish, humiliation, and loss of life’s pleasures, which Plaintiff has
suffered or may suffer as a result of Defendant’s improper conduct;

(g) Awarding punitive damages to Plaintiff under Section 1981;

(h) Awarding Plaintiff such other damages as are appropriate under Section 1981 and the
PHRA;

(i) Awarding Plaintiff the costs of suit, expert fees and other disbursements, and reasonable
attorney’s fees; and,

(j) Granting such other and further relief as this Court may deem just, proper, or equitable

including other equitable and injunctive relief providing restitution for past violations and

13
Case 4:21-cv-00872-MWB Document1 Filed 05/12/21 Page 14 of 14

preventing future violations.

Dated: May 12, 2021

14

CONSOLE MATTIACCI LAW, LLC

By:

J

 

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